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Measles
Measles is a virus that causes fever and a rash. It is highly contagious and anyone who is not
vaccinated against the virus can get it at any age.

Although measles is not widespread in the United States because of high vaccination rates, it
is still common in other parts of the world. Measles is common in Europe, Asia, Africa and
parts of South America. It is sometimes brought into the Unites States by unvaccinated
travelers who return with measles infection.

If you are a medical provider, see our Measles Information for Providers.

How Measles Spreads
Measles is very contagious. It is spread through the air when an infected person sneezes or
coughs. A person will be contagious four days before the rash appears and for four days after
the rash appears. They are no longer contagious on the fifth day after the rash started.

The virus can remain in the air for up to two hours.
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Prevention
Vaccination is the best way to prevent measles. Anyone who has received two doses of a
measles-containing vaccine is considered immune and unlikely to get measles.

MMR Vaccine

A child should get a measles vaccine at 12 months of age. The vaccine is combined with
mumps and rubella vaccines into one vaccine called measles, mumps and rubella (MMR). A
second dose of the MMR vaccine should be given at 4 to 6 years of age, before children enter
school.

Infants ages 6 to 11 months who are traveling internationally should receive an early, extra
dose of the MMR vaccine at least two weeks prior to travel. Children and adults ages 12
months and older should be up to date on their MMR vaccine, or they should have blood work
confirming immunity to measles.

For information on where you or your child can get vaccinated, call 311.

Vaccination Requirements Citywide

   • All children enrolled in pre-kindergarten, nursery school, day care programs, and Head
     Start are required to receive one dose of the measles vaccine.

   • Children enrolled in grades K through 12 and college students are required to have two
     doses of the MMR vaccine.

   • Health care workers should have received two doses of a measles-containing vaccine, or
     have a blood test showing that they are immune.

MMR Side Effects

Most people who receive the MMR vaccine do not have any side effects. Some people
experience mild side effects, such as fever, mild rash or swelling. Severe problems are very
rare.

Vaccine ingredients do not cause autism. More than 25 articles have been published since
1999 that have found no link between thimerosal-containing vaccines and autism spectrum
disorder (ASD), as well as no link between the MMR vaccine and ASD in children.

Symptoms
Symptoms usually appear 10 to 12 days after exposure to the virus. In some cases, symptoms
may start as early as seven days or as late as 21 days.

Early symptoms include:
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   • Fever
   • Cough
   • Runny nose
   • Red, watery eyes

Three to five days after initial symptoms, a rash of red spots appears on the face that then
spreads over the entire body.

Anyone can become infected with measles, but the virus is more severe in infants, pregnant
women and people whose immune systems are weak. Complications of measles include:

   • Diarrhea
   • Ear infections
   • Pneumonia (infection of the lungs)
   • Encephalitis (swelling of the brain)
   • Premature birth or low-birth-weight in pregnancy
   • Death

Treatment
There is no specific medicine to treat the measles virus. Most of the time, people with measles
will get better on their own.

Outbreak in Brooklyn, 2018-2019
As of September 3, 2019, 649 cases were confirmed in NYC between September 2018 and
August 2019. Community transmission was declared over on September 3.

During the outbreak, 33,805 doses of the MMR vaccine were administered to people younger
than 19 years old in Williamsburg and Borough Park.

Measles Cases by Neighborhood, Age and Date

The following case counts are from September 1, 2018, to August 19, 2019.




                  Expand All                                       Collapse All


    Cases by Neighborhood


    Cases by Age and Vaccination Status


    Cases by Date
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Additional Resources
  • Frequently Asked Questions: General Measles Information from NYC Department of
    Health (PDF)
    Other Languages: Español | ‫ | عربي‬中文 | 简体中文 | Italiano | Polski | ‫ | اردو‬Français |
    Kreyòl ayisyen | 한국어 | Русский | ‫ | ����� | ��דיש‬Português
  • Tzim Gezint: Vaccination Education (Hudson Valley Health Coalition) (PDF)
  • A Slice of Pie: MMR Edition
  • Measles Outbreaks in the United States


More Information
  • Vaccine-Preventable Childhood Diseases
  • Immunization Clinics
  • Pregnancy: Immunizations
  • Vaccine Basics
  • Vaccine Information Statements
  • Measles Information for Providers
